2:13-cv-03508-DCN         Date Filed 01/07/15       Entry Number 84        Page 1 of 1


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION


Mark Fitzhenry,                             )          C/A No.: 2:13-cv-3508 DCN
                                            )
                               Plaintiff,   )          ORDER OF DISMISSAL
                                            )
       vs.                                  )
                                            )
Lifewatch, Inc., Evan Sirlin, and John Doe, )
                                            )
                               Defendants. )
____________________________________)

       The court having been advised by counsel for the parties that the above action has been settled,

       IT IS ORDERED that this action is hereby dismissed without costs and without prejudice.

If settlement is not consummated within sixty (60) days, either party may petition the Court to reopen

this action and restore it to the calendar. Rule 60(b)(6), F.R.Civ.P. In the alternative, to the extent

permitted by law, either party may within sixty (60) days petition the Court to enforce the settlement.

Fairfax Countywide Citizens v. Fairfax County, 571 F.2d 1299 (4th Cir. 1978).

       AND IT IS SO ORDERED.




                                                       David C. Norton
                                                       United States District Judge
January 7, 2015
Charleston, South Carolina
